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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                CASE NO: 20-CIV-60209-RAR

 JESSICA SERRANO,

        Plaintiff,
 v.

 CITY OF HOLLYWOOD; HOLLYWOOD
 POLICE DEPARTMENT; and SHAMUS
 TAYLOR,

       Defendants.
 _______________________________________/

      DEFENDANT SHAMUS TAYLOR’S ANSWER AND AFFIRMATIVE DEFENSES

        COMES NOW, Defendant, SHAMUS TAYLOR (“TAYLOR”) by and through his

 undersigned counsel, and hereby files his Answer and Affirmative Defenses and state:

                                JURISDICTION AND VENUE

 1.     Without knowledge, therefore denied.

 2.     Without knowledge, therefore denied.

 3.     Admit.

 4.     Denied.

 5.     Admit.

 6.     Admit.

 7.     Admit.

 8.     Admit.

 9.     Denied.


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 10.    Without knowledge, therefore denied.

 11.    Without knowledge, therefore denied.

 12.    Without knowledge, therefore denied.

 13.    Denied.

 14.    No response required.

 15.    Admit that TAYLOR was employed by the HOLLYWOOD POLICE DEPARTMENT at all

        times material hereto.

 16.    Without knowledge, therefore denied.

 17.    Without knowledge, therefore denied.

 18.    Denied.

 19.    Denied as phrased.

 20.    Admit.

 21.    Without knowledge, therefore denied.

 22.    Without knowledge, therefore denied.

 23.    Without knowledge, therefore denied.

 24.    No response required as this calls for a legal conclusion.

 25.    Denied.

   COUNT I - STATE LAW FALSE ARREST AGAINST CITY OF HOLLYWOOD AND
                    HOLLYWOOD POLICE DEPARTMENT

        Paragraphs 26 - 39 require no response from TAYLOR. To the extend a response is

 required, all allegations are denied.




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 COUNT II - 42 U.S.C. §1983 FOURTH AMENDMENT VIOLATION FOR FALSE ARREST
 AGAINST CITY OF HOLLYWOOD AND HOLLYWOOD POLICE DEPARTMENT

         Paragraphs 40 - 44 require no response from TAYLOR. To the extend a response is

 required, all allegations are denied.

       COUNT III - 42 U.S.C. §1983 FOURTH AMENDMENT VIOLATION FOR FALSE
                     ARREST AGAINST OFFICER SHAMUS TAYLOR

 45.     No response required.

 46.     Denied.

 47.     Denied.

 48.     Denied.

 49.     Denied.

  COUNT IV - 42 U.S.C. §1983 FIRST AMENDMENT VIOLATION FOR RETALIATION
   AGAINST CITY OF HOLLYWOOD AND HOLLYWOOD POLICE DEPARTMENT

         Paragraphs 50 - 54 require no response from TAYLOR. To the extend a response is

 required, all allegations are denied.

      COUNT V - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS AGAINST
         CITY OF HOLLYWOOD AND HOLLYWOOD POLICE DEPARTMENT

         Paragraphs 55 - 66 require no response from TAYLOR. To the extend a response is

 required, all allegations are denied.

                                   AFFIRMATIVE DEFENSES

 1.      Further answering and as his first affirmative defense, TAYLOR would allege and assert that

 he is entitled to qualified immunity because he did not act in any way which would violate any

 clearly established rights guaranteed to the Plaintiff under the Constitution of the United States



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 and/or any statutory and/or common law of which a reasonable person and/or police officer would

 have known.

 2.      Further answering and as his second affirmative defense, TAYLOR would allege and assert

 that at all times material hereto, he had probable cause and/or arguable probable cause as well as a

 lawful authority and a duty to arrest Plaintiff.

 3.      Further answering and as his third affirmative defense, TAYLOR would allege and assert that

 he is entitled to the defense that the Plaintiff’s own conduct is the sole cause of her alleged injuries

 and damages, if any.

 4.      Further answering and as his fourth affirmative defense, TAYLOR would allege and assert

 that Plaintiff has failed to mitigate her damages.

 5.      Further answering and as his fifth affirmative defense, TAYLOR would allege and assert that

 at all times material hereto, he acted in good faith, without malice, and in pursuant of a lawful and

 legal duty.

 6.      Further answering and as his sixth affirmative defense, TAYLOR would allege and assert that

 the actions taken by him were reasonable upon objective evaluation and not so grossly

 disproportionate to the need to take those actions so as to warrant recovery pursuant to 42 U.S.C. §

 1983.

 7.      Further answering and as his seventh affirmative defense, TAYLOR would allege and assert

 that any injuries sustained by the Plaintiff, if any, were caused in whole or in part by Plaintiff’s own

 unlawful acts or conduct and accordingly, Plaintiff may not recover or alternatively, any recovery

 by Plaintiff must be reduced in accordance with the percentage that caused or contributed to her own



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 injuries.

 8.      TAYLOR further demands reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988, should

 he prevail in this action.

 9.      TAYLOR further denies each and every other allegation in Plaintiff’s Complaint herein not

 specifically admitted.

 10.     TAYLOR reserves the right to amend and supplement these affirmative defenses adding such

 affirmative defenses as may appear to be appropriate upon further discovery being conducted in this

 case.

                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 3, 2020, I electronically filed the foregoing document with
 the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this
 day on all counsel of record or pro se parties identified on the attached Service List in the manner
 specified, either via transmission of Notices of Electronic Filing generated by CM/ECF, or in some
 other authorized manner for those counsel or parties who are not authorized to receive electronically
 Notices of Electronic Filing.




                                                       Respectfully submitted,
                                                       /s/ Tamatha S. Alvarez
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                                                       Counsel for TAYLOR
                                                       /s/ Tamatha S. Alvarez
                                                       TAMATHA S. ALVAREZ



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                                        SERVICE LIST
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